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                                UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEVADA
                                             ***


UNITED STATES OF AMERICA,

                   Plaintiff,                           02:07-CR-00080-CRW-PAL

v.
                                                                ORDER
MICHAEL JENKINS,

                  Defendant.



                  The hearing scheduled to be held at 9:00 a.m. (PST) on May 17, 2012 is

postponed. It will instead be held at 9:00 a.m. (PST) on May 18, 2012, when the court will place

a telephone conference call to counsel to receive arguments on plaintiff’s resisted motion to

compel defendant to turn over funds. Michael Jenkins may participate by phone if Attorney

Robert Story provides the court a telephone number where Mr. Jenkins can be reached at the time

of the hearing.

                  IT IS SO ORDERED.

                  Dated this 11th day of May, 2012.




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